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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )          4:03CR3014
                                         )
                   Plaintiff,            )
             v.                          )          ORDER
                                         )
HA T. T. NGUYEN,                         )
                                         )
                   Defendant.            )




      Pursuant to F.R.A.P. 24(a), and construing the papers liberally,

      IT IS ORDERED that:

       1.    Defendant’s appeal (filing 419) appears to be taken in good faith;
       2.    Defendant’s motion to proceed in forma pauperis on appeal (filing 420)
is granted;
       3.    The clerk is directed to process the appeal and to provide a copy of this
order to the United States Court of Appeals for the Eighth Circuit.

      January 12, 2009.                       BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
